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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                        Case No.: 1:19-cv-21724-BLOOM/MCALILEY


 HAVANA DOCKS CORPORATION,

          Plaintiff,

 vs.


 CARNIVAL CORPORATION                       d/b/a/
 CARNIVAL CRUISE LINES,

          Defendant.

 _____________________________________/

          PLAINTIFF’S CERTIFICATE OF INTERESTED PARTIES AND
                  CORPORATE DISCLOSURE STATEMENT

          Plaintiff, Havana Docks Corporation, hereby submits its Certificate of

 Interested Parties and Corporate Disclosure Statement pursuant to Rule 7.1 of the

 Federal Rules of Civil Procedure and the Court’s Order Requiring Scheduling

 Report and Certificates of Interested Parties, (D.E. 12):

       1. The name of each person, associated person, firm, partnership, or corporation

          that has a financial interest in the outcome of this case, including

          subsidiaries, conglomerates, affiliates, parent corporations, and other

          identifiable legal entities related to a party:

             a. Havana Docks Corporation (Plaintiff)

             b. Mickael Behn (Director)

             c. Jerry M. Johnson (Director)

                                            Colson Hicks Eidson
 255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
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             d. Aphra Behn (Shareholder)

             e. Melanie Behn-Lucain (Shareholder)

             f. Romain Le Pelletier (Shareholder)

             g. Walter H. Whitaker (Shareholder)

             h. MacArthur Trust (Shareholder)

             i. Dorothy W. Hoch (Shareholder)

             j. Warren E. Buffett (Shareholder)

             k. Colson Hicks Eidson (counsel for Plaintiff)

             l. Rodney Margol (counsel for Plaintiff)

             m. Roberto Martinez (counsel for Plaintiff)

             n. Stephanie A. Casey, (counsel for Plaintiff)

             o. Francisco R. Maderal (counsel for Plaintiff)

             p. Lazaro Fields (counsel for Plaintiff)

             q. Carnival Corporation (Defendant)




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                                            Colson Hicks Eidson
 255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
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 DATED: June 14, 2019.                             Respectfully submitted,

                                                   COLSON HICKS EIDSON, P.A.
                                                   255 Alhambra Circle, Penthouse
                                                   Coral Gables, Florida 33134
                                                   Telephone: (305) 476-7400
                                                   Facsimile: (305) 476-7444
                                                   E-mail: eservice@colson.com

                                                   By: s/ Roberto Martinez______
                                                   Roberto Martinez, Esquire
                                                   Florida Bar No. 305596
                                                   bob@colson.com
                                                   Stephanie A. Casey, Esquire
                                                   Florida Bar No. 97483
                                                   scasey@colson.com
                                                   Lazaro Fields, Esquire
                                                   Florida Bar No. 1004725
                                                   laz@colson.com

                                                                - and -

                                                   MARGOL & MARGOL, P.A.
                                                   2029 3rd Street North
                                                   Jacksonville Beach, Florida 32250
                                                   Telephone: (904) 355-7508
                                                   Facsimile: (904) 619-8741

                                                   Rodney S. Margol, Esquire
                                                   Florida Bar No. 225428
                                                   Rodney@margolandmargol.com

                                            Attorneys for Plaintiff Havana Docks Corporation




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                                            Colson Hicks Eidson
 255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was filed

 with the Clerk of the Court. I also certify that the foregoing document is being

 served this 14 June 2019, on all counsel of record or pro se parties either via

 transmission of Notices of Electronic Filing generated by CM/ECF or in some other

 authorized manner for those counsel or parties who are not authorized to receive

 electronically Notices of Electronic Filing.



                                                   By: s/ Roberto Martinez______
                                                   Roberto Martinez




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                                            Colson Hicks Eidson
 255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
